                                                   Case 2:21-cv-02078-JAD-EJY Document 11 Filed 12/03/21 Page 1 of 2



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                                               6
                                                   Attorneys for Defendant
                                               7   TEG STAFFING, INC. d/b/a EASTRIDGE
                                                   WORKFORCE SOLUTIONS
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                                               9                                UNITED STATE DISTRICT COURT
                                              10                                      DISTRICT OF NEVADA
                                              11
                                                   SONNY GUBBINE,                                     Case No. 2:21-CV-02078-JAD-EJY
                                              12
                                                                  Plaintiff,
                                              13                                                      STIPULATION AND ORDER TO
                                                   v.                                                 EXTEND TIME FOR DEFENDANT TEG
                                              14                                                      STAFFING, INC. D/B/A EASTRIDGE
                                                   HOLDER CONSTRUCTION GROUP, LLC, a                  WORKFORCE SOLUTIONS TO FILE
                                              15   Georgia Limited Liability Company; TEG             RESPONSE TO PLAINTIFF’S
                                                   STAFFING, INC. d/b/a EASTRIDGE                     COMPLAINT
                                              16   WORKFORCE SOLUTIONS, a California
                                                   Corporation; DOES I-X; ROE BUSINESS                (SECOND REQUEST)
                                              17   ENTITIES I-X,
                                              18                  Defendants.
                                              19

                                              20
                                                          Plaintiff SONNY GUBBINE (“Plaintiff”) and Defendant TEG STAFFING, INC. d/b/a
                                              21
                                                   EASTRIDGE WORKFORCE SOLUTIONS (“Defendant”) by and through their undersigned
                                              22
                                                   counsel, hereby agree and stipulate to extend the time for Defendant to file a responsive pleading
                                              23
                                                   from the current deadline of December 3, 2021, up to and including December 10, 2021. The
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                                                   Parties agree that Defendant needs additional time to prepare its responsive pleading.
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                                              1            This is the second request for an extension of time to respond to the Complaint. This

                                              2   request is made in good faith and not for the purpose of delay.

                                              3
                                                  Dated: December 3, 2021                         Dated: December 3, 2021
                                              4

                                              5   Respectfully submitted,                         Respectfully Submitted,

                                              6

                                              7    /s/ James P. Kemp                              /s/ Emil S. Kim
                                                   JAMES P. KEMP, ESQ.                            ROGER L. GRANDGENETT II, ESQ.
                                              8    KEMP & KEMP                                    EMIL S. KIM, ESQ.
                                                                                                  LITTLER MENDELSON, P.C.
                                              9   Attorneys for Plaintiff
                                                  SONNY GUBBINE                                   Attorneys for Defendant
                                       10                                                         TEG STAFFING, INC. D/B/A EASTRIDGE
                                                                                                  WORKFORCE SOLUTION
                                       11

                                       12                                                          IT IS SO ORDERED.
                                       13
                                                                                                    Dated: December 3, 2021.
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                                                                                                   ____________________________________
                                       16                                                          UNITED STATES MAGISTRATE JUDGE

                                       17         4871-1587-4565.1 / 062338-1042


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